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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    UNITED STATES OF AMERICA,
                                                   NO: 13-CR-0114-TOR-2
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9          v.                                     MOTION TO MODIFY CONDITIONS
                                                   OF RELEASE
10    ADOUNE LOUANGRATH,

11                             Defendant.

12         BEFORE THE COURT is Defendant’s Motion to Modify Conditions of

13   Release (ECF No. 407). The motion was submitted for consideration without oral

14   argument. The Court has reviewed the motion and the file therein and is fully

15   informed. Defendant seeks to modify the conditions of his release by eliminating

16   the requirement for weekly contact with his counsel. Defendant avers this

17   condition has become burdensome as he works night shifts and is sleeping during

18   his counsel’s office hours. Defendant has abided by all conditions of release since

19   they were imposed on August 1, 2013, and neither the U.S. Probation Officer nor

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 1   the Assistant United States Attorney oppose the request. Finding good cause has

 2   been shown, the Court grants the motion.

 3         ACCORDINGLY, IT IS HEREBY ORDERED:

 4         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 407) is

 5            GRANTED.

 6         2. Defendant’s conditions of release (ECF No. 84) are modified to eliminate

 7            condition number 7.

 8         The District Court Executive is hereby directed to enter this Order and

 9   furnish copies to counsel and the U.S. Probation Office.

10         DATED March 10, 2016.

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12                                  THOMAS O. RICE
                             Chief United States District Judge
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     ORDER GRANTING DEFENDANTS’ MOTION TO MODIFY CONDITIONS
     OF RELEASE ~ 2
